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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                                                              FILEtr)
                                 EASTERN DIVISION                                   APR   28 2023      Jc
UNITED STATES OF           AMERICA            )                                 THOMAS      G BRUTON
                                                                             CIERK, U.S. DISTRICT COURT
                                              )       Nos.    72 CR 723
        v.                                                    13 CR 703
                                              )               15 CR 487
ADEL DAOUD                                    )
                                              )       Judge Matthew F. Kennelly

                                       STATUS REPORT

        The UNITED STATES OF AMERICA, by MORRIS PASQUAL, Acting United

States Attorney for the Northern District of Illinois, respectfully submit this Status

Report.

        On or about   April L0,2023, the government had the attached letter (Exhibit 1)
delivered to the defendant at the MCC.1 The letter identifies the two witnesses @BI

Special Agent Jeff Parsons and Mudaffar, the undercover agent), the government

anticipates calling at the sentencing hearing. The letter also informs the defendant

that the government anticipates playing portions of the recordings between him and

his Kankakee cellmate "Vino," which address the 13 CR 703 case, as well as the victim

impact video of Justin Hancock, which addresses the 15 CR 487 case.

       On April 27,2023, the government received the defendant's witness list. The

list identifies 82 witnesses.

       With regard to the defendant's electronic devices, enclosed with the letter
mentioned above the government provided the defendant with a disc which contained



1 The letter is dated April 5 but
                                  was not delivered until on or about April 10 as the government was
waiting for the authorization from the MCC to deliver the package.
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all the downloaded material on his Kindle in a readable form with the exception of

the deleted items. The government informed the defendant that the government could

bring the defendant to the U.S. Attorney's Office if he wished to review any of the

items seized from the defendant at the time of his arrest, to include electronics, that

are still in the government's possession.

      On    April 10,2023, the government was informed by Ms. Michaelis, his stand-
by counsel, that the defendant was having trouble reviewing some of the discovery.

The government and Ms. Michaelis have discussed bringing the defendant to the U.S.

Attorney's Office to allow the defendant to review the discovery on a government

computer.

                                              Respectfully submitted,


                                              MORRIS PASQUAL
                                              Acting United States Attorney

                                       By:     /s/ Baruy Jonas
                                              BARRY JONAS
                                              TIFFANY ARDAM
                                              Assistant U.S. Attorney
                                              219 South Dearborn St., Rm. 500
                                              Chicago, Illinois 60604
                                              (3L2) 353-5300

Date: April 28,2023
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                                                   U.S. Department of Justice

                                                  United States Attorruey
                                                  Northern. District of Illinois

 Barry Jonas                                      Dirhsen Fe der al C o ur thou s e       Direct   Line: (312)   886-
 Assistant United States Attornqt                 219 South Dearborn Street,                                     8027
                                                  Chicago, IL 60604



                                                                                  April 5,2023
Adel Daoud, USM #43222-424
c/o Metropolitan Correctional Center
Chicago,       IL

         Re:        Urited States   u.   Adel Daoud. No. 12 CR 723113 CR 703175 CR 487

Dear Mr. Daoud:

       We are writing to address three issues: imaging your electronic devices; the
protective measures sought by the government during the sentencing testimony of
the FBI undercover agent; and, per the Court's order, providing you a list of the
witnesses who will testify during the sentencing hearing.

        Electronic Devices

       You have previously requested complete forensic images of the electronic
devices that were seized from your home on the day you were aruested. We are writing
to address your request.

        The attached is a color-coded spreadsheet which itemizes the items seized from
your home (Ex. 1). The items highlighted in red, which include two laptop computers
and a desktop computer, were returned to Mr. Durkin and Mr. Herman on or about
December L4, 2072. Enclosed is a copy of the receipt for the return of the items (Ex.
2). It is our understanding that, on or about December 17, 2012, your father picked
up the returned items from Mr. Herman. Enclosed is a copy of the note reflecting that
action (Ex. 3). A-Lso enclosed is an FBI serial reflecting the return of some of the items
(Ex.6).

       The items highlighted in green are the electronic devices that are still in the
possession of the government. As you may be aware, at the government request, the
Court ordered the government to make "full logical copies and full data extractions of
the defendant's electronic devices in the government's possession." Since the issuance
of the order, the government has looked further into its ability to make images of all
t2 of the electronic devices and has learned that there are several obstacles to doing
so.
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       First, the provision of hard drives. In order to make the images, each device
needs to be copied onto its own hard drive. Typically, and as happened in this case,
the defendant must provide a blank hard drive if he or she wishes to have the
government create a forensic image of an electronic device (see attached discovery
letter dated November 16,2012, informing Mr. Durkin to provide a blank hard drive
if you or he wanted any forensic copies of electronic media (Ex. a)). The U.S.
Attorney's Office does not currently possess 12 blank hard drives.

       Second, the MCC, for security reasons as we understand         it,   has stated   a
preference for not providing you with an additional 12 hard drives.

      Third, due to the nature of some of the electronic devices, the FBI would be
required to send the device(s) to FBI headquarters to create full forensic images,
which could take weeks or even months, jeopardizing your ability to review the
material in time for the June 20th sentencing hearing.

       Finally, in order to make a 700% image of any device, the image would require
an executable software that, it is our understanding, the MCC does not have or allow
on its computers. The full logical copies are images that are readable by you on the
MCC computers but may not include every digit of information contained on the
device.

      To address these issues, the government proposes the following:

      We have been able to copy your Kindle onto a disc (it is our understanding
through your standby counsel that you are primarily concerned with reviewing the
Kindle so we focused on that device). The disc contains all the downloaded material
on your Kindle in a readable form with the exception of the deleted items. The RCFL
has been able to see, but not access, what has been deleted and it may be possible to
recover those items but to do so would require the Kindte to be sent to FBI
Headquarters. Included with this letter is the copy of the Kindle disc (RCFL_007) and
a screenshot of the deleted items (Ex. 5). The disc does not contain the executable
program entitled "spywareterminatorsetup.exe(1)"because that program contained
malware.

      Additionally, if you want to review any of the electronic devices still in the
government's possession, to include the Kindle, or any of the other items identified in
the spreadsheet (other than the items that have been returned), we can either bring
you over to the U.S. Attorney's Office and have you review the items along with your
stand-by counsel (we wiII not agree to this proposal unless your stand by counsel is
present in the room with you) or we can return the devices/material to your stand-by
counsel. It is our expectation though, that the MCC will not allow you to possess the
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original devices at the MCC (we can inquire if you would like). Please let us know
through your standby counsel if you wish to exercise either of the options.

           Protective Measures for the Undercover Agent's Sentencing
           Testirnony

       On March 27, 2023, the government filed the enclosed motion for a protective
order seeking certain measures to be put in place when the undercover agent testifies.
The measures are the same that Judge Coleman put into place during the first
sentencing hearing. The specific measures we seek are set forth in the motion.

       A classified companion motion in support of the motion for a protective order,
has also been filed ex parte, and under seal. A copy will not be made available to you.

      Sentencing Hearing Witnesses

      The government anticipates caliing the foliowing witnesses to testify during
the sentencing hearing:

      1)   FBI Special Agent Jeff Parsons. Agent Parsons will address the sentencing
           exhibits that have previously been provided to you.

      2) Mudaffar   - the FBI undercover agent alHa undercover employee (UCE).
           Mudaffar will testifr about your communications and meetings with him.

      In addition to calling these two witnesses, the government wiII play some of
the recordings from your prison cell when you were housed with "Vino." The
government will also play the victim impact video of Justin Hancock.

      Please let us know if you have any questions or wish to discuss any of the
information contained in this letter.

                                       Very truly yours,

                                       MORRIS PASQUAL
                                       Acting United States Attorney

                                 By:   s/Barcy Jonas
                                       BARRY JONAS
                                       TIFFANY ARDAM
                                       Assistant United States Attorneys
CC:
Quinn A. Michaelis, Esq.
